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                       Exhibit J




    REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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                    HIGHLY CONFIDENTIAL UNDER THE PROTECTIVE ORDER

                                                                  Page 1

1                               UNITED STATES DISTRICT COURT
2                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                                           OAKLAND DIVISION
4
5
6                                            )
        IN RE:       APPLE IPHONE            )
7       ANTI-TRUST LITIGATION                )
                                             )
8                                            )
        AND RELATED ACTIONS.                 ) Civil Action No.
9                                            ) 4:11-cv-06715YGR
                                             )
10      __________________________)
11
12
13      HIGHLY CONFIDENTIAL UNDER THE PROTECTIVE ORDER
14
15
16      DEPOSITION OF:
17                              C.K. HAUN, VOLUME I
18                              WEDNESDAY, JANUARY 13, 2021
19                              9:00 A.M.
20
21
22
23
24      Reported by:          GINA M. CLOUD
25                            CSR No. 6315

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                                                                  Page 2

1                Deposition of C.K. HAUN, the witness, taken
2       on behalf of the Plaintiffs, on Wednesday, January
3       13, 2021, at 9:00 a.m., via Virtual Zoom, pursuant
4       to NOTICE.
5
6       APPEARANCES OF COUNSEL:
7
8       FOR PLAINTIFF EPIC GAMES, INC:
9                      CRAVATH SWAINE & MOORE
                       BY: BRENT BYARS, ESQ.
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1       APPEARANCES: (CONTINUED)
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8
9       ALSO PRESENT:
10                               Kiego Painter, Videographer
                                 Matthew Riesdorph
11                               Judah Weinerman
                                 Jennifer Fine, Esq.
12                               Stephanie Brown, Esq.
13
14
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                                                                    Page 13

1            Q.       Tell me about your career from then until
2       around the period when Apple launched its App Store.
3       Take me through the roles you played between that
4       period and the time when Apple launched App Store.
5            A.       I was a developer technical support engineer
6       until 1994.        At that point I moved into the Macintosh
7       system software engineering team and wrote and
8       applied software fixes to various portions of the Mac
9       operating system.
10                    In late 1995, I briefly left the company to
11      join a startup; Be Incorporated.                 It is B as in
12      baker, E as in echo, incorporated.
13                    I worked there for roughly six months, left
14      that company, returned to Apple.                 At that point I was
15      given responsibility for the engineering side of the
16      Mac OS 8 system software release, so I managed the
17      software engineering team for that operating system
18      release.
19                    When that operating system release was
20      completed, I worked on some of the design and
21      foundational pieces of what would become Mac OS X,
22      and in 1998 I was approached by the management of the
23      Apple developer organization to take the director's
24      job of developer technical support.                  I accepted and I
25      have had that role since then.

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1            Q.       What did that role entail?
2            A.       My responsibilities at that point were to
3       direct the team of developer technical support
4       engineers in the appropriate areas to focus to assist
5       our third-party developer community.
6                     I also had the opportunity to work with
7       various system software teams and provide feedback
8       from the third-party community on technologies they
9       were developing.
10                    Along the time between 1998 and present, I
11      also had responsibility for the Evangelism team for
12      two years when their leadership left the company.                  I
13      also started the App Review team when we opened the
14      iPhone App Store.
15           Q.       How long were you responsible for the App
16      Review team?
17           A.       I was responsible for the App Review team
18      from -- I will phrase this as from planning through
19      launch and execution, so that would be roughly a year
20      and five months I would describe it.
21


                                   .
24           Q.       What do you enjoy about providing developer
25      technical support?

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1       intended for use by any third-party application who
2       uses them within the criteria of the documentation,
3       our guidelines and the program license agreement.
4                     Private APIs are application interfaces in
5       the operating system that are not available for
6       third-party use.
7            Q.       Do third-party developers know of the
8       existence of the private APIs?
9            A.       I do not know if all third parties are aware
10      of a particular private API.
11           Q.       Can you give me an example of a particular
12      private API just in application?
13           A.       Would you like the specific name or would
14      you like a characterization of what it may do?
15           Q.       A characterization is fine.
16




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                                                                 Page 65

1




7            Q.       How does a developer know, third-party
8       developer, is it able to use the private APIs?
9            A.       No.
10           Q.       So how is that relevant to a review of the
11      application?
12           A.       The use of private APIs is prohibited by the
13      Apple Developer Program license agreement and The App
14      Review Guidelines; however, there have been occasions
15      where information about a particular private API has
16      become public and third-party applications have
17      attempted to incorporate them into their applications
18      that they want to provide to customers through the
19      iOS App Store.
20




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1            A.       Correct.
2            Q.       How does an iOS device recognize an app
3       that it can launch?
4            A.       How technical do you want to get into this?
5            Q.       Let's start functionally and then we'll
6       drill down.
7            A.       When the operating system requests an app to
8       be installed from the iOS App Store, the app is
9       downloaded to the device.             And I'll use "device" to
10      cover iPad, iPod Touch, iPhone, Apple TV.
11                    What a consumer or layman sees as an app,
12      one single icon on their desktop or on the launch
13      screen of an iOS device, is in fact a folder.               And
14      the folder contains a variety of files.              There are
15      files that have different extensions, which I assume
16      most people are familiar with; it's the numbers or
17      letters after the period character in a file name,
18      like PDF or dot MOV or dot MP3.
19                    There are a series of files inside that
20      folder and other subfolder that identify the
21      different components of the application.
22




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18           Q.       Other than the App Store and other than the
19      enterprise program, are there other ways that an iOS
20      app can be loaded onto -- launched -- are there
21      other sources by which an iOS app can get -- native
22      iOS app can get to a phone?
23           A.       Yes.
24           Q.       I saw a reference to something about
25      developers getting 100 apps they could distribute.

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1       apps?
2            A.       I have a high level of confidence in the
3       robustness of our automated tooling and the skills of
4       the members of our App Review team.
5            Q.       Do you recall an incidence where a school
6       shooting game was uploaded to the App Store and on
7       sale soon after the shooting incident?
8            A.       I have a vague memory of that, yes.
9            Q.       Can we pull up tab 18.            And this will be --
10      I'll give you the Exhibit Number.                    It takes a little
11      bit to come over to you.            This will be Exhibit 130.
12                    (The document referred to was marked as
13      Exhibit 130 for identification and is attached
14      hereto.)
15      BY MR. KELLY:
16           Q.       We'll wait until you get that on your
17      screen.
18           A.       And I see it and I'm opening it.               Yes, I see
19      this e-mail.
20           Q.       Mr. Haun, you recognize Exhibit 130 as an
21      e-mail you sent to the group of individuals in
22      November of 2015 with the subject


24                    Do you see that?
25           A.       Yes.

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1




24            A.       As I mentioned, we have spent a great deal
25      of engineering resources, people resources and other

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1      resources to reduce the incident of security and
2      privacy exploits.




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1       long time to do that correctly, so I purchased a
2       software development kit that contained some code and
3       a number of APIs that I could use in my application
4       to draw graphical text onto the screen.
5            Q.       The entity providing that kit, those APIs,
6       is that always the OS developer, or can it be third
7       parties?
8            A.       I'm sorry, I did not mean to imply that it
9       was the OS developer.          That was not.         That was a
10      third-party library.
11           Q.       We referred to private APIs that Apple has;
12      do you remember that?
13           A.       Yes.
14           Q.       What is a private API?
15           A.       A private API is a connection point to
16      system functionality which is not available to a
17      third-party developer.
18           Q.       What are the reasons Apple would choose to
19      make those APIs not available to third-party
20      developers?
21           A.       There are a number of reasons.            One of the
22      first and the highest priority ones is the operating
23      system may not want to vend an API that could expose
24      privacy or security risks to a customer.
25                    Another very common reason is the private

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1       API has been designed for a very narrow use.
2




16                    The third characteristic of private APIs is
17      they are a private API today, so our engineering
18      teams can validate the points I was making about the
19      other API and have a level of confidence that there
20      has been enough time and enough usage of the API to
21      make a decision to say yes, we believe we can be
22      providing a service to third-party developers versus
23      a detriment by promoting this from a private API to a
24      public API.
25

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1       ** HIGHLY CONFIDENTIAL UNDER THE PROTECTIVE ORDER **
2
3                         UNITED STATES DISTRICT COURT
4                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
5                                OAKLAND DIVISION
6
7       ________________________________
                                                        )
8                                                       )
        IN RE APPLE iPHONE ANTITRUST                    )Civil Action No.
9       LITIGATION                                      )4:11-cv-06715YGR
                                                        )
10                                                      )
11
12
13              ZOOM VIDEOTAPED DEPOSITION OF C.K. HAUN
14                                     VOLUME II
15                            Palo Alto, California
16                         Thursday, January 14, 2021
17
18
19
20
21
22
23
        Reported by:
24      LORI M. BARKLEY, CSR No. 6426
25      PAGES 250 - 348

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1                         UNITED STATES DISTRICT COURT
2                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                                OAKLAND DIVISION
4
5
        ________________________________
6                                                     )
                                                      )
7       IN RE APPLE iPHONE ANTITRUST                  )Civil Action No.
        LITIGATION                                    )4:11-cv-06715YGR
8                                                     )
                                                      )
9
10
11                    Zoom Videotaped deposition of C.K. HAUN,
12      Volume II, taken on behalf, at Palo Alto, California,
13      beginning at 9:08 a.m., and ending at 11:41 a.m., on
14      Thursday, January 14, 2021, before LORI M. BARKLEY,
15      Certified Shorthand Reporter No. 6426.
16
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                                                                Page 252

1       APPEARANCES:
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3       FOR PURE SWEAT BASKETBALL AND THE APP DEVELOPER CLASS
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                                                                Page 253

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                                                                Page 254

1       APPEARANCES (CONTINUED):
2
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                                                                Page 255

1       APPEARANCES (CONTINUED):
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3       FOR CONSUMER CLASS PLAINTIFFS:
4            WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
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6            BY:       JANE DUPONT
7            BY:       JUDAH WEIDERMAN
8            Attorneys at Law
9            270 Madison Avenue, 10th Floor
10           New York, New York 10016
11           rifkin@whafh.com
12
13
14      Also present:
15           Curt Norris, Videographer
16           Jennifer Brown; Stephanie Fine (Apple)
17
18
19
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17           Q.       I will represent to you that according to
18      Mr. Lawson's LinkedIn page, he joined Apple sometime
19      in 2016 after XcodeGhost.
20




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1




11      BY MR. RIFKIN:
12           Q.       Let's unpack that just a little bit.           First
13      of all, dev tools stands for development tools, yes?
14           A.       Developer tools.
15           Q.       Developer tools.        And is developer tools a
16      particular team at Apple?
17           A.       Yes.
18           Q.       And how did that relate to your team?
19           A.       In broad terms, my team does its job by
20      assisting third party developers in their development
21      of applications for Apple platforms and as part of
22      that, a large majority of the time that my engineers
23      spend working on technical issues related to building
24      code for iOS and other apps, they use the developer
25      tools like Xcode, to perform their work that is in

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1      general, the relationship.
2                    My engineers are a client of the products
3      that developer tools produces.
4




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